                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA


 UNITED STATES OF AMERICA                             )
                                                      )       Case No. 1:09-cr-123
 v.                                                   )
                                                      )       COLLIER / LEE
 TAMIA SMITH                                          )
                                                      )


                              REPORT AND RECOMMENDATION

         Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on January 21, 2010.

 At the hearing, defendant moved to withdraw her not guilty plea to Count One of the Superseding

 Indictment and entered a plea of guilty to the lesser included offense of the charge in Count One,

 that is of conspiracy to manufacture, distribute, and possess with the intent to distribute five (5)

 grams or more of methamphetamine (actual), a Schedule II controlled substance, in violation of 21

 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(B) in exchange for the undertakings made by the

 government in the written plea agreement. On the basis of the record made at the hearing, I find the

 defendant is fully capable and competent to enter an informed plea; the plea is made knowingly and

 with full understanding of each of the rights waived by defendant; the plea is made voluntarily and

 free from any force, threats, or promises, apart from the promises in the plea agreement; the

 defendant understands the nature of the charge and penalties provided by law; and the plea has a

 sufficient basis in fact.

         Therefore, I RECOMMEND defendant’s motion to withdraw her not guilty plea to Count

 One of the Superseding Indictment be granted, her plea of guilty to the lesser included offense of



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 the charge in Count One, that is of conspiracy to manufacture, distribute, and possess with the intent

 to distribute five (5) grams or more of methamphetamine (actual), a Schedule II controlled

 substance, in violation of 21 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(B) be accepted, the Court

 adjudicate defendant guilty of the lesser included offense of the charge in Count One of the

 Superseding Indictment, that is of conspiracy to manufacture, distribute, and possess with the intent

 to distribute five (5) grams or more of methamphetamine (actual), a Schedule II controlled

 substance, in violation of 21 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(B), and a decision on whether

 to accept the plea agreement be deferred until sentencing. I further RECOMMEND defendant

 remain in custody until sentencing in this matter. Acceptance of the plea, adjudication of guilt,

 acceptance of the plea agreement, and imposition of sentence are specifically reserved for the district

 judge.



                                                s/Susan K. Lee
                                                SUSAN K. LEE
                                                UNITED STATES MAGISTRATE JUDGE



                                       NOTICE TO PARTIES

          You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
 to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
 of guilty in this matter. See 28 U.S.C. §636(b).




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